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                          UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA

   JAMES SHAYER, an individual,          Case No. 2:20-cv-11107-FMO-GJS

            Plaintiff,                   Hon. Fernando M. Olguin
       v.
                                         JOINT BRIEF RE: PLAINTIFF’S
   HB MAT PROPERTIES, a California       MOTION FOR SUMMARY
   limited liability company; FUSION     JUDGMENT
   SUSHI, a business of unknown form;
   and DOES 1-10,

   Defendants.
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26

27

28




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 1      I.      INTRODUCTION
 2
        A. PLAINTIFF’S INTRODCUTION
 3

 4           Plaintiff James Shayler (“Plaintiff”), who is disabled, faced numerous
 5
     obstacles in attempting to take dine with his friends at Fusion Sushi (the “business”
 6

 7
     or “the restaurant”), located at 1200 Pacific Coast Hwy, Hermosa Beach,

 8   California 90254 (the “Property”). Mr. Shayler has several spinal issues, including
 9
     spinal arthritis, spinal stenosis, spondylosis, and a herniated disk. These conditions
10

11   severely impact his mobility, and he requires a cane and/or walker (“mobility
12
     device”) to get around and access business facilities.
13

14
              On three (3) separate occasions, Plaintiff had difficulty visiting the

15   Property simply because Defendant HB Mat Properties, owner of the Property, and
16
     Defendant Fusion Sushi, operator of the business, (collectively the “Defendants”)
17

18   refuse to perform the routine remediations necessary to make the Property
19
     accessible under the Americans with Disabilities Act of 1990 (“ADA”) (42 U.S.C.
20

21
     § 12181, et seq.) and the Unruh Civil Rights Act (“UCRA”) (California Civil Code

22   § 51, et seq.).
23
             Plaintiff moves for summary judgment because there is no dispute that, as an
24

25   individual with disabilities, he has faced, and will continue to face, barriers to
26
     access at the Property. Specifically, the Property’s parking, routes of travel,
27

28
     signage, and business interior are not ADA-compliant and present significant

                                                   6
     ____________________________________________________________________________________________
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 1   hurdles to Plaintiff’s full use and enjoyment of the business. These violations are
 2
     substantial, well-documented, and can be remediated with minimal time, expense,
 3

 4   and impact on the business. These same obstacles also constitute violations of the
 5
     UCRA.
 6

 7
           During his visits, Plaintiff encountered a walkway with excessive changes in

 8   level. The route is excessively sloped and does not contain the safety features of a
 9
     ramp, making it difficult for Plaintiff to safely travel to the business using his
10

11   mobility device. Plaintiff also had difficulty determining where to park, and how to
12
     enter the business, due to the lack of signage.
13

14
           Plaintiff’s Certified Access Specialist (CASp), John Battista, found that

15   found that these violations exist, and additionally that a large number of barriers
16
     not encountered by Plaintiff during his visit are also present on the Property. These
17

18   violations can be fixed for less than $25,000 in total, which is far less than what
19
     Defendant pays in property taxes for the Property on an annual basis.
20

21
           In light of these ongoing barriers, Plaintiff seeks an order requiring

22   Defendant to remediate existing violations, including by repaving the route of
23
     travel and landing to the business entrance; providing designated disabled parking
24

25   and an adjacent access aisle of appropriate size; and posting/and or painting
26
     appropriate signage. Plaintiff also seeks damages under the UCRA in the amount
27

28

                                                   7
     ____________________________________________________________________________________________
                    JOINT BRIEF RE: PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT
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 1   of $16,000 for the three visits where he encountered these access barriers as well as
 2
     for one deterred visit to the business.
 3

 4      B. DEFENDANT’S INTRODUCTION
 5         Shayler has been caught on video 3 times not using a cane when he
 6   inconsistently stated in declarations filed with the court that he uses a cane daily to
 7   walk. He has perjured himself in declarations in this and other cases stating that he
 8   has limited use of his left hand and arm when he admitted in deposition that it is
 9   his right hand. Further, that claim of limited use of the right hand is shown to be
10   false by the videos. He also declared in this case that he went to Fusion Sushi with
11   a friend. At deposition, Shayler admitted that is a lie.
12         In addition, Shayler apparently told his doctor that he never bends or climbs
13   stairs. The videos and stills from the videos prove Shayler bends and climbs stairs.
14   While Shayler is shown walking with a pronounced limp, he cannot demonstrate a
15   disability that gives rise to standing to sue (or at the very least there are questions
16   of fact). Shayler will probably claim that he was having good days when he was
17   captured on video and that this Court should ignore the impeachment evidence.
18   But this is a motion for summary judgment; the Court cannot make credibility
19   determinations.
20         Moreover, Shayler’s claimed use of a cane at the property—inconsistent
21   with the photographic and video evidence—does not give him standing to sue for
22   violation of regulations that apply to wheelchair users or the blind. “‘[A] “barrier”
23   will only amount to such interference if it affects the plaintiff’s full and equal
24   enjoyment of the facility on account of his particular disability.’ Chapman, 631
25   F.3d at 947 (emphasis added). As ‘the [ADA Accessibility Guidelines
26   (‘ADAAG’)] establishes the technical standards required for “full and equal
27   enjoyment,” if a barrier violating these standards relates to a plaintiff's disability, it
28   will impair the plaintiff's full and equal access, which constitutes “discrimination”

                                                   8
     ____________________________________________________________________________________________
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 1
      under the ADA,’ thereby satisfying the first element of standing, injury-in-fact.
 2
      Id.” Shayler v. Patel, 2020 U.S. Dist. LEXIS 136451, at *9 (C.D. Cal. July 31,
 3
      2020). Shayler’s limp cannot be used as a litigation machine to seek damages and
 4
      attorney fees for alleged violation of regulations that simply do not apply to him.
 5
               Shayler’s counsel never should have filed this motion for summary
 6
      judgment in light of the serious impeachment evidence from the videos that creates
 7
      obvious credibility questions precluding summary judgment. Sherman Oaks
 8
      Medical Arts Center, Ltd. v. Carpenters Local Union No. 1936, etc., 680 F.2d 594,
 9
      598 (9th Cir. 1982) [summary judgment not proper where credibility and the intent
10
      of the declarant are in issue]. Shayler’s counsel have in bad faith multiplied the
11
      proceedings in this case justifying monetary sanctions in the amount of $15,000
12
      under 28 U.S.C. § 1927.
13

14       II.      STATEMENT OF FACTS
15
         A. PLAINTIFF’S STAEMENT OF FACTS
16

17         Plaintiff is disabled. Plaintiff’s Undisputed Fact (“P”)1; Evidentiary
18    Appendix (“Evid.”) at p. 2. He has several spinal issues, including spinal arthritis,
19
      spinal stenosis, spondylosis, and a herniated disk, which affect and impair his
20

21    mobility. P2; Evid. at p. 2-3; 42-79. Plaintiff also has nerve damage throughout his
22
      back, legs, and feet, which further impairs his mobility. P3; Evid. at p.3 42-79. In
23

24    addition, Plaintiff has several leg and foot issues, including complications from
25    two knee replacement surgeries, bilateral osteoarthritis of the knees, and
26
      osteomyelitis in his foot which required hospitalization. P4; Evid. at p. 3; 42-79.
27

28    Plaintiff also has very limited use of one arm and hand. P6; Evid. at p. 3; 42-79. As

                                                    9
      ____________________________________________________________________________________________
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 1    a result, Plaintiff has limited mobility and has difficulty walking and/or standing
 2
      for longer than fifteen minutes at a time. P5; Evid. at p. 3. Plaintiff uses a cane to
 3

 4    walk on a daily basis, but when his pain is especially bad, he must use a walker
 5
      instead. P5; Evid. at p. 3. Because Plaintiff’s mobility is severely impaired, he
 6

 7
      needs ADA compliant routes of travel, parking, and signage for full and equal

 8    access to public accommodations. P7; Evid. at p. 7. The State of California has
 9
      issued Plaintiff a permanent disabled person parking placard as a result of his
10

11    disabilities. P8; Evid. at p. 3, 78.
12
            Defendant HB Mat Properties owns the property located at or about 1200
13

14
      Pacific Coast Hwy, Hermosa Beach, California 90254, which houses a restaurant

15    named Fusion Sushi that is open to the public and operated by Defendant Fusion
16
      Sushi. Ps 9-10; Evid. at p. 33. In March 2019, February 2020, and September 2020
17

18    Plaintiff visited the Property with the intent to patronize the business, but he
19
      experienced difficulty, humiliation, and/or frustration upon encountering various
20

21
      barriers. P11; Evid. at p. 8.

22          Plaintiff needs to walk on a smooth surface free from obstructions and
23
      without excess slopes or changes in level because he is at risk of tripping when he
24

25    uses his cane or walker. P12; Evid. at p. 8. During his visits, there were changes in
26
      level and excess slopes in the route connecting the designated disabled parking
27

28
      space to the business entrance, and on the route between the business entrances. Id.

                                                   10
      ____________________________________________________________________________________________
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 1         Plaintiff needs adequate space to disembark from the vehicle and unload his
 2
      mobility devices, but when he visited the Property, the designated disabled parking
 3

 4    space and adjacent access aisle lacked adequate signage and were not the proper
 5
      size, which made it difficult for him to park. P14-15; Evid. at p. 9.
 6

 7
            Plaintiff experienced additional barriers along the route connecting the

 8    designated disabled parking space (and/or access aisle) to the business entrance
 9
      (the “route of travel”). When Plaintiff was at the Property, Plaintiff did not see any
10

11    directional signs posted indicating an accessible route and an accessible entrance,
12
      making it difficult for him to determine where to travel safely. P13; Evid. at p. 8.
13

14
           On June 29, 2021, Plaintiff’s Certified Access Specialist (CASp), John

15    Battista, performed a site inspection and confirmed that the above-referenced
16
      barriers Plaintiff encountered continue to be present on the Property. P16-56; Evid.
17

18    at p. 24-32; 80-207. Many of the remediations identified in the CASp report are not
19
      costly compared to the value of the Property, would not take much time to fix, and
20

21
      would not have any impact on business operations. See P18, 20, 22, 24, 26, 28, 30,

22    32, 34, 36, 38, 40, 42, 44, 46, 48, 50, 52, 54, 56; Evid. at p. 222-23.
23
           Plaintiff is aware of the existing barriers to access observed by his
24

25    investigator. P59; Evid. at p. 10. The existing violations would impede Plaintiff’s
26
      ability (i.e., would make it more difficult for him) to access Defendant’s property.
27

28
      P26; Evid. at p. 11-12. Plaintiff is presently deterred from visiting the Property due

                                                   11
      ____________________________________________________________________________________________
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 1    to the existing violations. UF 27; Evid. at p. 10. Plaintiff intends and plans to return
 2
      to the Property very soon, once existing violations have been remediated, including
 3

 4    because the Property is conveniently located close to his friend’s house, and he
 5
      enjoys gathering with his friends for sushi when he is in the area. P28; Evid. at p.
 6

 7
      12.

 8
            B. DEFENDANT’S STATEMENT OF FACTS
 9
              Shayler is a liar and has perjured himself in declarations filed in the District
10
      Court a shown below.
11
                                         False Statements
12
              In the Lumbar Spine Medical Source Statement, a February 11, 2020
13
      medical record of Shayler, the following appears: “How often can your patient
14
      perform the following activities: Twist, never; stoop (bend), never; climb ladders,
15
      never; climb stairs, never.” Shayler confirmed the statement in the medical record
16
      is accurate as of July 13, 2021. Undisputed Fact, D64 [Exhibit 33, 32:14–18,
17
      33:3–21, 47:17-22; Exhibit 35, p. 4, item k].
18
              Photographic and video evidence proves the statements by Shayler that he
19
      never stoops or bends and climbs stairs are false. Undisputed Fact, D65 [Exhibit
20
      33, 59:12-60:3 and Exhibit 36 (stairs from the CPAP store); Exhibit 33, 78:5–12,
21
      78:24–79:8 and Exhibit 37, p. 4 (Still from video showing him bending); Exhibit
22
      33, 80:9-20 and Exhibit 37, p. 5 (Still from video showing him bending lower);
23
      Exhibit 33, 80:22-25, 81:1-3 and Exhibit 37, p. 6, 7 (still from video showing him
24    bending even lower); Exhibit 33. 84:1-4 and Exhibit 37, p. 13 (still from video
25    showing him stepping up to walkway); Exhibit 33, 90:7-12 and Exhibit 37, pp. 32,
26    34 (still from video showing him bending low to place level at separate location)].
27            Shayler Walks Stairs: Shayler admitted he walked down 6 stairs to get to
28    the sidewalk after leaving the CPAP store. Undisputed Fact, D66 [Exhibit 33,
                                                   12
      ____________________________________________________________________________________________
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 1
      59:12-60:3 and Exhibit 36]. Shayler identified himself in a still from a July 14,
 2
      2021 video, showing him stepping up to a walkway from the parking lot without
 3
      using a cane. Undisputed Fact, D70 [Exhibit 33, 84:1-4 and Exhibit 37, p. 13].
 4
            Shayler Stoops or Bends: Shayler identified himself in a still from a July
 5
      14, 2021 video, showing him bending at the waist to take a photograph of the level
 6
      that he had placed on the ground. Undisputed Fact, D67 [Exhibit 33, 78:5–12,
 7
      78:24–79:8 and Exhibit 37, p. 4]. Shayler identified himself in a still from a July
 8
      14, 2021 video, showing him bending lower at the waist to take a photograph of
 9
      the level that he had placed on the ground. Undisputed Fact, D68 [Exhibit 33,
10
      80:9-20 and Exhibit 37, p. 5]. Shayler identified himself in stills from a July 14,
11
      2021 video, showing him bending even lower at the waist picking up the level.
12
      Undisputed Fact, D69 [Exhibit 33, 80:22-25, 81:1-3 and Exhibit 37, p. 6, 7].
13
      Shayler identified himself in stills from a July 14, 2021 video, showing him
14
      bending low at the waist to take a photograph of the level that he had placed on the
15
      ground at a different location than before. Undisputed Fact, D71 [Exhibit 33, 90:7-
16
      12 and Exhibit 37, pp. 32, 34]. See also Undisputed Fact, D94 [Exhibit 33,
17    102:12-23; Exhibit 48].
18          Walking Without A Cane Despite Declarations. In a declaration filed in
19    Shayler v. 1310 PCH LLC, Shayler states he had used a cane daily to help him
20    walk, which he said in deposition he had been doing since 2019. Undisputed Fact,
21    D72 [Exhibit 33, 34:1-8, 35:1-6 and Exhibit 38, ¶ 4]. Photographic and video
22    evidence demonstrates Shayler does not use a cane daily. Undisputed Fact, D73
23    [Exhibit 33, 57:9-21, and Exhibit 39 (no cane); Exhibit 33, 57:24-58:10, and
24    Exhibit 40 (walking on sidewalk without cane); Exhibit 33, 60:23–61:9, and
25    Exhibit 41 (walking without cane in video); Exhibit 33, 64:1–10, and Exhibit 42
26    (walking without cane in video); Exhibit 33, 81:7-9, 84:1-12 and Exhibit 37, pp. 8,
27    11 and 12 (standing with no cane in sight); Exhibit 33, 84:18–21 and Exhibit 37, p.
28    13 (stepping up to walk away with no cane); Exhibit 33, 84:22-85:3 and Exhibit
                                                   13
      ____________________________________________________________________________________________
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 1
      37, p. 14 (walking into store with no cane); Exhibit 33, 87:19–88:8 and Exhibit 37,
 2
      pp. 25, 26 (walking without a cane); Exhibit 33, 88:9–11, 88:25-89:6; 89: 5–17
 3
      and Exhibit 37, pp. 28-31(standing and walking without cane)].
 4
            Shayler Walks Without a Cane: Shayler identified himself as the person
 5
      in the still from an April 2, 2021 video, show in him taking a card from the person
 6
      behind the counter and not using a cane. Undisputed Fact, D74 [Exhibit 33, 57:9-
 7
      21, and Exhibit 39]. Shayler identified himself as the person in the still from an
 8
      April 2, 2021 video, walking and on the sidewalk without a cane. Undisputed
 9
      Fact, D75 [Exhibit 33, 57:24-58:10, and Exhibit 40]. See also Undisputed Fact,
10
      D92 [Exhibit 33, 99:7-11, 22]; Exhibit 46, [D93 Exhibit 33, 102:6-11; Exhibit 47],
11
      D94 [Exhibit 33, 102:12-23; Exhibit 48], D95 [Exhibit 33, 103:20-21, 104:1-3;
12
      Exhibit 49].
13
            Shayler identified himself in a still from a July 16, 2019 video, showing him
14
      walking a long distance to the Great Care Medical Group entry door without a cane
15
      (Undisputed Fact, D76 [Exhibit 33, 60:23–61:9, and Exhibit 41]), walking in the
16
      waiting room without cane (Undisputed Fact, D77 [Exhibit 33, 64:1–10, and
17    Exhibit 42]).
18          Shayler identified himself in stills from a July 14, 2021 video, showing him
19    standing and walking without a cane (Undisputed Fact, D79 [Exhibit 33, 84:18–21
20    and Exhibit 37, p. 13], D82 [Exhibit 33, 88:9–11, 88:25-89:6; 89: 5–17 and Exhibit
21    37, pp. 28-3]), walking into Melrose Liquor Market without a cane (Undisputed
22    Fact, D80 [Exhibit 33, 84:22-85:3 and Exhibit 37, p. 14]), walking without a cane
23    and holding a bottle of tea in his right hand (Undisputed Fact, D81 [Exhibit 33,
24    87:19–88:8 and Exhibit 37, pp. 25, 26]).
25                                             Perjury
26          In 3 declarations filed in the district court, including this case, Shayler
27    falsely stated he cannot put any pressure on his left arm or hand. Undisputed Fact,
28    D83 [Exhibit 33, 42:3-12 and Exhibit 38, ¶ 5 and Exhibit 33, 48:3-49:5 and Exhibit
                                                   14
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 1
      43 ¶ 5; para. 5 of the declaration in this case; but see Exhibit 33, 40:22-41:4 and
 2
      42:3-12 (right hand and arm, not left)]. But Shayler testified at deposition he has
 3
      little or no use of his right hand, not the left hand, as result of injury while working
 4
      as a firefighter for Cal Farm during the service of a felony prison term.
 5
      Undisputed Fact, D84 [Exhibit 33, 16:1-3; Exhibit 33, 40:22-41:4].
 6
               Perhaps more disturbing is the subornation of perjury. In a declaration in
 7
      support of Shayler’s motion, Thomas McCloy, M.D. declares under penalty of
 8
      perjury: “8. Mr. Shayler has very limited use of his left arm and hand as a result of
 9
      an injury on the job as a firefighter years ago.”
10
               In addition to perjury about the left hand, in his declaration in this case,
11
      Shayler states he visited Fusion Sushi with one of his friends. Undisputed Fact,
12
      D96 [Exhibit 45, ¶ 8; Exhibit 33, 49:22-50:5]. The statement in the declaration
13
      that he visited Fusion Sushi with one of his friends is false; Shayler never visited
14
      Fusion Sushi with a friend. Undisputed Fact, D97 [Exhibit 33, 52:7-11; 54:9-
15
      55:5].
16
                                              More Lies
17
               Shayler Has Considerable Use Of His Right Hand. Photographic and
18
      video evidence proves the statement by Shayler that he had little or no use of his
19
      right hand is false. Undisputed Fact, D85 Exhibit 33, 63:4-13 and Exhibit 44
20
      (opening door with right hand); Exhibit 33, 75:1–6, 78:5-12, 78:24-79:8 and
21
      Exhibit 37, p. 1 (folding measuring device with right hand); Exhibit 33, 85:5-11
22    and Exhibit 37, pages 15 and 16 (reaching for bottle with right hand); Exhibit 33,
23    86:7-16: Exhibit 37, pp. 19 – 23 (using both hands to get change from a bag);
24    Exhibit 33:87:19-88:8 and Exhibit 37, pp. 25 and 26 (holding a bottle in right
25    hand); Exhibit 37, page 16 (opening car door with the right hand).
26             Shayler identified himself in a still from a July 16, 2019 video, showing him
27    opening the door to Great Care Medical Group with his right hand. Undisputed
28    Fact, D86 [Exhibit 33, 63:4-13 and Exhibit 44].
                                                   15
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 1
            Shayler identified himself in a still from a July 14, 2021 video, showing him
 2
      holding a slope measuring tool in his right hand. Undisputed Fact, D87 [Exhibit
 3
      33: 75:1–6, 78:5-12, 78:24-79:8 and Exhibit 37, p. 1]. Shayler identified himself
 4
      in stills from a July 14, 2021 video, showing him using his left hand to open a door
 5
      in a refrigerator case in a store and reaching in with his right hand for a bottle.
 6
      Undisputed Fact, D88 [Exhibit 33, 85:5-11 and Exhibit 37, pages 15 and 16].
 7
            Shayler identified himself in stills from a July 14, 2021 video, showing him
 8
      using both hands to get change from a bag. Undisputed Fact, D89 [Exhibit 33,
 9
      86:7-16: Exhibit 37, pages 19 – 23].
10
            Shayler identified himself in stills from a July 14, 2021 video, showing him
11
      walking without a cane and holding the bottle of tea in his right hand. Undisputed
12
      Fact, D90 [Exhibit 33:87:19-88:8 and Exhibit 37, pages 25 and 26].
13
            A still from a July 14, 2021 video shows Shayler opening his car door with
14
      his right hand. Undisputed Fact, D91 [Exhibit 37, page 16].
15
                                       Purported Cane Use
16
            Shayler does not claim he used a walker at defendant’s property; he only
17    claims use of a cane. Undisputed Fact, D98 [Exhibit 33, 105:20-106:2, 110:6-11].
18    Shayler says he drove himself to defendant’s property for the three alleged visits.
19    Undisputed Fact, D99 [Exhibit 33, 108:18-23, 109:13-113:22].
20                                     Claimed Purchaases
21          Shayler claims to have purchased food 3 times at Fusion Sushi but has no
22    receipts for those claimed purchases. Undisputed Fact, D102 [Exhibit 33, 57:1-8].
23                               Shayler Drove To The Property
24          When he parked his vehicle for each of the three visits, the access aisle was
25    on the passenger side. Undisputed Fact, D100 [Exhibit 33, 108:18-23, 109:13-
26    113:22]. In order to state the slope in the access aisle as the only violation for the
27    parking at the property, Shayler makes the unbelievable claim he exited the vehicle
28

                                                   16
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 1
      on the driver side and walked around the vehicle to get his cane from the passenger
 2
      side. Undisputed Fact, D101 [Exhibit 33, 108:18-23, 109:13-113:22].
 3

 4       III.   PLAINTIFF’S CLAIMS UNDER THE ADA
 5
         A. ELEMENTS OF AN ADA CLAIM FOR ARCHITERCTURAL
 6

 7          ACCESSIBLITY VIOLATIONS
 8
         Plaintiff’s Position:
 9

10
            Under Title III of the Americans with Disabilities Act of 1990 (“ADA”),

11    “[n]o individual shall be discriminated against on the basis of a disability in the full
12
      and equal enjoyment of the goods, services, facilities, privileges, advantages, or
13

14    accommodations of any place of public accommodation by any person who owns,
15
      leases (or leases to), or operates a place of public accommodation.” 42 U.S.C. §
16

17
      12182(a). To succeed on his Title III, ADA claim, “a plaintiff must show that: (1)

18    he is disabled within the meaning of the ADA; (2) the defendant is a private entity
19
      that owns, leases, or operates a place of public accommodation; and (3) the
20

21    plaintiff was denied public accommodations by the defendant because of his
22
      disability.” Arizona ex rel. Goddard v. Harkins Amusement Enterprises, Inc., 603
23

24
      F.3d 666, 670 (9th Cir. 2010), citing Molski v. M.J. Cable, Inc., 481 F.3d 724, 730

25    (9th Cir. 2007).
26
            With respect to the third prong, the ADA applies not just to intentional
27

28    discrimination, but also to thoughtlessness and indifference:

                                                   17
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 1                 Its passage was premised on Congress’s finding that
 2
                   discrimination against the disabled is most often the product,
 3

 4                 not of invidious animus, but rather of thoughtlessness and
 5
                   indifference, of benign neglect, and of apathetic attitudes rather
 6

 7
                   than affirmative animus. The concept of “discrimination”

 8                 under the ADA does not extend only to obviously exclusionary
 9
                   conduct – such as a sign stating that persons with disabilities
10

11                 are unwelcome or an obstacle course leading to a store's
12
                   entrance. Rather, the ADA proscribes more subtle forms of
13

14
                   discrimination – such as difficult-to navigate restrooms and

15                 hard-to-open doors – that interfere with disabled individuals’
16
                   “full and equal enjoyment” of places of public accommodation.
17

18    Chapman v. Pier 1 Imports (U.S.) Inc., 631 F.3d 939, 944-945 (9th Cir. 2011)
19
      (internal quotes and citations removed for readability). “The third element –
20

21
      whether plaintiffs were denied public accommodations on the basis of disability –

22    is met if there was a violation of applicable accessibility standards.” Moeller v.
23
      Taco Bell Corp., 816 F. Supp. 2d 831, 847 (N.D. Cal. 2011), citing Chapman, 631
24

25    F.3d at 945. Discrimination under the ADA includes, “a failure to remove
26
      architectural barriers … in existing facilities … where such removal is readily
27

28
      achievable.” 42 U.S.C. §§ 12183(a)(2); 12182(b)(2)(A)(iv).

                                                   18
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 1          Accordingly, a plaintiff may establish a claim for discrimination under the
 2
      ADA by proving the following elements:
 3

 4                 1. Plaintiff is disabled. 42 U.S.C. § 12182(a).
 5
                   2. Defendant’s facility is a place of “public accommodation,” and,
 6

 7
                       therefore, governed by Title III of the ADA. Id.

 8                 3. Defendant is a responsible party, i.e., owner, operator, lessor, or
 9
                       lessee. Id.
10

11                 4. Defendant’s facility contains an easily removable barrier that the
12
                       defendant failed to remove. 42 U.S.C. § 12182(b)(2)(A)(iv).
13

14
                   5. Plaintiff actually encountered an unlawful barrier or has reasonable

15                     grounds for believing that he is about to be subjected to
16
                       discrimination as he would encounter such a barrier. 42 U.S.C. §
17

18                     12188(a).
19
            As discussed below, Plaintiff’s civil rights were violated because Defendant
20

21
      failed to provide accessible parking, route(s) of travel, signage, and an accessible

22    business interior. Plaintiff discusses each element of his claim seriatim.
23

24       Defendant’s Position (Shayler Lack Standing To Sue):

25
            Shayler forgets he must have standing for the alleged violations because

26
      without such standing this Court does not have jurisdiction. In Oliver v. Ralphs

27
      Grocery Co., 654 F.3d 903, 907 (9th Cir. 2011), the 9th Circuit stated the

28
      constitutional requirements for standing to sue: “The ‘irreducible constitutional

                                                   19
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 1
      minimum of standing’ includes three elements: (1) injury in fact; (2) causation; and
 2
      (3) redressability. See Lujan v. Defenders of Wildlife, 504 U.S. 555, 560-61, 112 S.
 3
      Ct. 2130, 119 L. Ed. 2d 351 (1992). In Chapman, we explained that a disabled
 4
      person suffers an injury in fact when he ‘encounter[s] a barrier’ at a place of public
 5
      accommodation ‘that deprives him of full and equal enjoyment of the facility due
 6
      to his particular disability.’ 631 F.3d at 944. [Emphasis added.]”
 7
            Recently, the United States Supreme Court made clear that the injury in fact
 8
      claimed by a plaintiff as the basis for standing to sue must be harmful and concrete
 9
      and the mere violation of a statute or regulation is not enough for standing to sue.
10
      See TransUnion LLC v. Ramirez, 141 S. Ct. 2190, 2204-07 (2021). “As the Court
11
      emphasized in Spokeo [Inc. v. Robins], 578 U. S. 330 (2016(], ‘Article III standing
12
      requires a concrete injury even in the context of a statutory violation.’ Ibid.”
13
      TransUnion LLC, 141 S. Ct. at 2205. “Only those plaintiffs who have been
14
      concretely harmed by a defendant’s statutory violation may sue that private
15
      defendant over that violation in federal court. As then-Judge Barrett succinctly
16
      summarized, ‘Article III grants federal courts the power to redress harms that
17    defendants cause plaintiffs, not a freewheeling power to hold defendants
18    accountable for legal infractions.’ [Citation.] [Emphasis added.]” TransUnion
19    LLC, 141 S. Ct. at 2205.
20          The Supreme Court stated the constitutionally required reason Article III
21    requires a concrete harm for standing to sue:
22          “if the law of Article III did not require plaintiffs to demonstrate a
23          ‘concrete harm,’ Congress could authorize virtually any citizen to
24          bring a statutory damages suit against virtually any defendant who
25          violated virtually any federal law. Such an expansive understanding of
26          Article III would flout constitutional text, history, and precedent. In
27          our view, the public interest that private entities comply with the
28          law cannot ‘be converted into an individual right by a statute that
                                                   20
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 1
            denominates it as such, and that permits all citizens (or, for that
 2
            matter, a subclass of citizens who suffer no distinctive concrete
 3
            harm) to sue.’ Lujan, 504 U. S., at 576-577, 112 S. Ct. 2130, 119 L.
 4
            Ed. 2d 351. [Emphasis added.]”
 5
      TransUnion LLC, 141 S. Ct. at 2206.
 6
            So, the violation of regulations alone is not enough for standing to sue. The
 7
      harm suffered from violations must be concrete. Harm cannot be concrete when,
 8
      as here, the plaintiff sues for violation of regulations that simply do not apply to
 9
      him. The specific regulations will be discussed below in response to Shayler’s
10
      arguments. However, as a prime example, Shayler sues for the alleged lack of an
11
      accessible restroom in Fusion Sushi. However, every issue raised by Shayler for
12
      the restroom concerns wheelchair regulations. Shayler says he used only a cane at
13
      the property, although that is subject to factual dispute from the video and
14
      photographic evidence and from his utter lack of credibility as a liar and perjurer.
15
      As a matter of fact, Shayler has no proof, other than his discredited word, that he
16
      was ever at the property. Undisputed Fact, D102 [Exhibit 33, 57:1-8].
17          As will be shown, plaintiff lacks standing to sue for injunctive relief;
18    defendant should be granted summary judgment on the federal cause of action.
19    (Or, at the very least, trial is necessary to determine whether Shayler can prove his
20    standing to sue.)
21

22       B. PLAINTIFF IS DISABLED
23
         Plaintiff’s Position:
24

25
            Plaintiff is disabled. UF 1; Evid. at p. 2. He has several spinal issues,

26    including spinal arthritis, spinal stenosis, spondylosis, and a herniated disk, which
27
      affect and impair his mobility. UF 2; Evid. at p. 2-3; 42-79. Plaintiff also has nerve
28

                                                   21
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 1    damage throughout his back, legs, and feet, which further impairs his mobility. UF
 2
      3; Evid. at p.3 42-79. In addition, Plaintiff has several leg and foot issues,
 3

 4    including complications from two knee replacement surgeries, bilateral
 5
      osteoarthritis of the knees, and osteomyelitis in his foot which required
 6

 7
      hospitalization. UF 4; Evid. at p. 3; 42-79. Plaintiff also has very limited use of one

 8    arm and hand. UF 6; Evid. at p. 3; 42-79.
 9
            As a result of these conditions, Plaintiff has limited mobility and has
10

11    difficulty walking and/or standing for longer than fifteen minutes at a time. UF 5;
12
      Evid. at p. 3. Plaintiff uses a cane to walk on a daily basis, but when his pain is
13

14
      especially bad he must use a walker instead. UF 5; Evid. at p. 3. Because Plaintiff’s

15    mobility is severely impaired, he needs ADA compliant routes of travel, parking,
16
      and signage for full and equal access to public accommodations. UF 7; Evid. at p.
17

18    7. The State of California has issued Plaintiff a permanent disabled person parking
19
      placard as a result of his disabilities. UF 8; Evid. at p. 3, 78. Thus, Plaintiff is
20

21
      disabled and entitled to the protections of the ADA.

22
            Defendant’s Position:
23
            Whether Shayler is disabled cannot be resolved by summary judgment.
24
      Summary judgment is not proper where the moving party’s credibility is in issue.
25
      Agosto v. INS, 436 U.S. 748, 756 (1978) (“[A] district court generally cannot grant
26
      summary judgment based on its assessment of the credibility of the evidence
27
      presented.”) Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 249 (1986) (“At the
28
      summary judgment stage the judge’s function is not himself to weigh the evidence
                                                   22
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 1
      and determine the truth of the matter but to determine whether there is a genuine
 2
      issue for trial.”) See also: Sherman Oaks Medical Arts Center, Ltd. v. Carpenters
 3
      Local Union No. 1936, etc., 680 F.2d 594, 598 (9th Cir. 1982): “Even when the
 4
      evidentiary facts are undisputed, summary judgment should not be granted where
 5
      contradictory inferences may be drawn from those facts. [Citation.] Nor is
 6
      summary judgment generally appropriate in cases such as this one, where motive
 7
      and intent play a leading role in a determination of liability, and where the proof is
 8
      largely in the hands of the [moving party]. [Citation.]”
 9
            Defendant’s statement of facts demonstrates plaintiff’s claimed disabilities
10
      that he never stoops, never bends, never climb stairs is absolutely false.
11
      Undisputed Fact, D65 . The video and photographic evidence show him stooping
12
      or bending and climbing stairs. Id. Further, Shayler states under penalty of perjury
13
      in declarations he uses a cane daily to walk. Undisputed Fact, D72. There are
14
      three sets of videos on three different days in July 16, 2019, April 22021and July
15
      14, 2021 showing Shayler walking (and bending stooping and climbing stairs)
16
      without any cane. Undisputed Facts, D73-D82, D92-D95. The evidence
17    contradicts Shayler’s evidence of disability.
18          Moreover, the only medical provider who has submitted a declaration, Dr.
19    McCloy, has perjured himself by stating Shayler has limited use of the left hand
20    and arm (McCloy decl. ¶ 8), when Shayler testified a deposition that he has little or
21    no use of his right hand following surgery when he was in prison. Undisputed
22    Fact, D84. Surely, a physician who actually examined Shayler would know the
23    left hand from the right hand. Although maybe not. Shayler also perjured himself
24    by stating in declarations that he had limited use of the left hand. Undisputed
25    Facts, D83-D84. And, the video and photographic evidence proves Shayler does
26    have considerable use of the right hand, grabbing and carrying bottles, opening
27    doors in buildings, opening car doors and holding and maneuvering a smart level.
28    Undisputed Facts, D85-D91.
                                                   23
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 1
            Adding to the false statements and perjury, in this case, plaintiff submitted a
 2
      declaration stating that he visited Fusion Sushi with a friend. Shayler admitted at
 3
      deposition that never happened. Undisputed Facts, D96-D97. With all the false
 4
      statements surrounding Shayler’s purported disability, use of a cane and visit to the
 5
      property, Shayler cannot shown with uncontroverted evidence that he is disabled.
 6

 7       C. DEFENDANTS OWN AND/OR OPERATE PLACES OF PUBLIC
 8
            ACCOMODATION
 9

10       Plaintiff’s Position:
11
            Defendants own and/or operate a place of public accommodation for
12

13
      purposes of the ADA. In Botosan v. Paul McNally Realty, the Ninth Circuit

14    adopted a DOJ regulation that “both the landlord and the tenant are public
15
      accommodations and have full responsibility for complying with all ADA title III
16

17    requirements.” Botosan v. Paul McNally Realty, 216 F.3d 827, 833 (9th Cir. 2000).
18
      According to the Ninth Circuit, public policy requires that “owners of public
19

20
      accommodations should not be permitted to contract away liability.” Id. at 834.

21          Defendant HB Mat Properties is the owner of the Property. UF 9; Evid. at p.
22
      33. There is currently a restaurant called Fusion Sushi on the Property, which is
23

24    open to the public and operated by Defendant Fusion Sushi. UF 10; Evid. at p. 33.
25
      Thus, Defendants, as the landlord and/or tenants of a public accommodation, are
26

27
      liable for any violations of ADA title III requirements contained therein. There is

28    no genuine dispute of material fact as to this element.
                                                   24
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 1
         Defendant’s Position:
 2
            Defendant does not dispute the property is a place of public accommodation.
 3

 4       D. THE PROPERTY HAS BARRIERS WHICH CAN BE READILY
 5
            REMEDIATED
 6

 7       Plaintiff’s Position:
            There can be no genuine dispute that the property contains several
 8

 9    architectural barriers that can easily be remediated.
10
            “To determine if Plaintiff describes an ‘architectural barrier’ the Court must
11

12    turn to the ADA Accessibility Guidelines for Buildings and Facilities (‘ADAAG’).
13
      If an element does not meet or exceed ADAAG standards, it is considered a barrier
14
      to access.” Rush v. Denco Enterprises, Inc., 857 F. Supp. 2d 969, 973 (C.D. Cal.
15

16    2012) (internal cites omitted). “Any element in a facility that does not meet or
17
      exceed the requirements set forth in the ADAAG is a barrier to access.” Chapman
18

19    v. Pier 1 Imports (U.S.) Inc., 631 F.3d 939, 945 (9th Cir. 2011) (identifying this as
20
      the formal position of the Department of Justice). These are “objective” and
21
      “precise” standards, and “the difference between compliance and noncompliance”
22

23    is “often a matter of inches.” Id.
24
            Barrier removal is “readily achievable” when it is “easily accomplishable
25

26    and able to be carried out without much difficulty or expense.” Moeller v. Taco
27
      Bell Corp., 816 F. Supp. 2d 831, 847 (N.D. Cal. 2011). The Ninth Circuit recently
28
      established a framework for assessing whether barrier removal is readily
                                                   25
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 1    achievable, based on several factors: A) nature and cost of action; B) overall
 2
      financial resources of the facility, number of persons employed, effect on expenses
 3

 4    and resources, or impact upon operation of the facility; C) overall financial
 5
      resources of covered entity; and D) type of operation of the covered entity. Lopez
 6

 7
      v. Catalina Channel Express, Inc., 974 F.3d 1030, 1038 (9th Cir. 2020).

 8    Acknowledging that plaintiffs may lack complete information, the Court further
 9
      held that “plaintiffs are not required to address in detail each of the four factors to
10

11    meet their initial burden of plausibly explaining why it is readily achievable to
12
      remove an architectural barrier.” Id.
13

14
            Given that clear barriers to access exist in violation of the ADA, and there is

15    credible evidence suggesting that the barriers can be readily remediated, Plaintiff
16
      now seeks summary judgment in his favor.
17

18       Defendant’s Position:
19          Defendant contends Shayler lacks standing to sue for injunctive relief or, at
20    the very least, must prove his standing to sue at trial. As such, this question
21    whether the remediation can be performed on a readily achievable basis should not
22    be considered.
23

24       1) Lack of Accessible Route(s)
25
         Plaintiff’s Position:
26

27
            Section 4.3.2 of the 1991 ADA Standards for Accessible Design (ADAS)

28    states: “At least one accessible route within the boundary of the site shall be
                                                   26
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 1    provided from … the accessible parking [and] public sidewalks … to the
 2
      accessible building entrance they serve.” 1991 ADAS § 4.3.2(1). “The running
 3

 4    slope of walking surfaces shall not be steeper than 1:20. The cross slope of walking
 5
      surfaces shall not be steeper than 1:48.” 2010 ADAS § 403.3. “Opening in floor or
 6

 7
      ground surfaces shall not allow passage of a sphere more than 1/2 inch

 8    diameter…” 2010 ADAS § 302.3
 9
            Here, there was/is no accessible pedestrian route(s) leading from the
10

11    sidewalk or parking area/access aisle to the business entrance. The entrance from
12
      the public sidewalk at the stairway leading to the business entrance is not
13

14
      accessible as it does not have handrails. UF 23; Evid. p. 25, 93-95, 249; see 2019

15    CBC 11b (CA) § 11B-505.2. The walkway between business entrances has cross
16
      slopes greater than two percent (2%), measuring up to 3.9 percent (3.9%). UF 25;
17

18    Evid. p. 98-101, 251-254. The concrete expansion joints in the walkway are spaced
19
      greater than one-half inch (1/2”) apart, measuring up to one inch (1”) apart. UF 27;
20

21
      Evid. p. 102-104, 255. There is also no accessible route to the outdoor dining area.

22    UF 29; Evid. p.111-112.
23
            Plaintiff encountered these slopes which made it difficult to navigate using
24

25    his mobility devices and put his safety at risk. UF 12. The estimated cost level the
26
      route of travel so that it is no longer excessively sloped is $15,500 and should take
27

28
      three days to complete. UF 26; Evid. p. 222. Defendant can afford to remediate this

                                                   27
      ____________________________________________________________________________________________
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 1    condition, especially considering the cost of the remediation compared to the value
 2
      of the Property (more than $6 million). UF 63; Evid. p. 34, 225. Given that the
 3

 4    slope along the landing is at places greatly exceeds the allowable limit, the benefit
 5
      of this remediation far exceeds its costs. Additionally, many of the route of travel
 6

 7
      violations, such as the gaps in the concrete expanders, can be remediated for only a

 8    few hundred dollars and several hours of work. UF 28; Evid. p. 222; see also UF
 9
      24. Accordingly, there is no genuine dispute that Property lacks an accessible route
10

11    of travel and can be readily remediated. Plaintiff respectfully requests that this
12
      Court grant summary judgment as to the route of travel violations.
13

14       Defendant’s Position:
15          Shayler complains of slopes, change of level and lack of railings at the stairs
16    at the sidewalk. He does not have standing to sue for any of it.
17          First, whether plaintiff is disabled is subject to dispute. Undisputed Facts,
18    D64 to D95. “[W]hat is required to defeat summary judgment is simply evidence
19    such that a reasonable juror drawing all inferences in favor of the respondent could
20    return a verdict in the respondent's favor.” Zetwick v. Cty. of Yolo, 850 F.3d 436,
21    441 (9th Cir. 2017) (internal quotation marks omitted). Given the video and
22    photographic evidence, lies about disability and perjury, the reasonable jury could
23    well reject Shayler’s claim he is disabled. Second, as noted above, Shayler has not
24    presented proof, other than his impeached and incredible word, that he was ever at
25    the property. Again, the reasonable jury would have the right to believe he never
26    encountered any barrier.
27          Third, as to slope and change of level, Shayler claims he used a cane at the
28    property. Undisputed Fact, D98. As a cane user, Shayler does not have standing

                                                   28
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 1
      to sue for slopes and change of level. Shayler v. Patel, 2020 U.S. Dist. LEXIS
 2
      136451 (C.D. Cal. July 31, 2020) is on point. In that case, Shayler alleged the
 3
      occasional use of a walker but not a wheelchair. Applying Chapman, where the
 4
      court held an ADA plaintiff is “‘limited to barriers related to that person’s
 5
      particular disabilities’” (631 F.3d at 951), the court ruled plaintiff did not have
 6
      standing to sue for change of level regulations:
 7
            “Thus, the question presented is whether the alleged ADA violations
 8
            are the type to affect Shayler’s full and equal enjoyment of the
 9
            Nursery on account of his particular disability.
10
                   “The remaining two alleged ADA violations, change in level,
11
            are based on ADA 2010 § 303.3. (FAC ¶ 22.) The advisory following
12
            the section states the following: ‘As used in this section, the phrase
13
            “changes in level” refers to surfaces with slopes and to surfaces with
14
            abrupt rise exceeding that permitted in Section 303.3. Such changes in
15
            level are prohibited in required clear floor and ground spaces, turning
16
            spaces, and in similar spaces where people using wheelchairs and
17          other mobility devices must park their mobility aids such as in
18          wheelchair spaces, or maneuver to use elements such as at doors,
19          fixtures, and telephones. The exception permits slopes not steeper
20          than 1:48.’
21                 “ADAAG § 304.2 (2010),
22          https://www.ada.gov/regs2010/2010ADAStandards/2010AD
23          AStandards_prt.pdf (emphasis added). The advisory explains that the
24          regulations on changes in level aim to assist those with disabilities
25          requiring wheelchairs or other motorized devices that can be ‘parked.’
26          Thus, it is not apparent how Shayler suffered an injury by
27          encountering a violation of the change-in-level regulation given that
28

                                                   29
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 1
            his disability requires only an occasional use of a walker. …” (Id. at
 2
            *10-11.)
 3
            As shown in Shayler v. Patel, regulations dealing with changes of level are
 4
      wheelchair regulations. Similar to 304.2 cited in Shayler, the Advisory Note to the
 5
      2010 Standards of Accessible Design § 502.4 provides: “Access aisles are
 6
      required to be nearly level in all directions to provide a surface for wheelchair
 7
      transfer to and from vehicles. The exception [2%] allows sufficient slope for
 8
      drainage. …” (Emphasis added.)
 9
            In addition, cross slopes and ramps are regulations that apply to wheelchair
10
      users. “Cross slopes are difficult for wheelchair users to manage on relatively flat
11
      routes of travel.” 57 FR 60612. Ramps are also regulations established for
12
      wheelchair users. 56 FR 3540 [“A4.8.1 General. Ramps are essential for
13
      wheelchair users if elevators or lifts are not available to connect different levels.”]
14
            Finally, Shayler claims the stairs at the sidewalk required handrails. While
15
      that claim of violation may be applicable to Shayler if the trier of fact believes he
16
      is disabled, he never encountered those stairs as he claims he drove to the property
17    on all 3 of the alleged visits and parked in the accessible parking space.
18    Undisputed Facts, D99-101. Shayler cannot have suffered and will not suffer any
19    concrete harm from the lack of handrailing on the stairs. There is no standing to
20    sue on that issue. TransUnion LLC, 141 S. Ct. at 2206.
21          Plaintiff has no viable claim on the path of travel issues.
22

23       2) Lack of Compliant Signs
24
         Plaintiff’s Position:
25

26
            The ADA mandates that signs directing individuals to the accessible

27    entrance are posted when there is more than one entrance to a building, and not all
28
      entrances are accessible. 2010 ADAS § 216.6. Here, only one of the two entrances
                                                   30
      ____________________________________________________________________________________________
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 1    is accessible, and there is no signage directing individuals to the public entrance or
 2
      indicating an accessible route to the public entrance. UF 21; Evid. p. 91-92, 249.
 3

 4    Posting the required signage would, at most, cost $75 and take thirty minutes to
 5
      complete. UF 22; Evid. p. 38, 222. Plaintiff did not see any directional signs posted
 6

 7
      indicating an accessible route to an accessible entrance, making it difficult for him

 8    to determine where to travel safely and causing difficulty because his disabilities
 9
      make it hard to stand for more than fifteen minutes at a time. UFs 5, 21; Evid. p. 8.
10

11       Defendant’s Position:
12          Shayler claims that directional signage should be placed at the stairs at the
13    sidewalk. While that claim of violation may be applicable to Shayler if the trier of
14    fact believes he is disabled, he never encountered those stairs as he claims he drove
15    to the property on all 3 of the alleged visits and parked in the accessible parking
16    space. Undisputed Facts, D98-101. Shayler cannot have suffered and will not
17    suffer any concrete harm from the lack of directional signage. There is no standing
18    to sue on that issue. TransUnion LLC, 141 S. Ct. at 2206.
19

20       3) Lack of Accessible Parking Space and Access Aisle
21
         Plaintiff’s Position:
22
            An access aisle must be provided next to a designated disabled parking
23

24    space, and it “shall be part of an accessible route.” 1991 ADAS § 4.6.3. Access
25
      aisles shall be clearly marked so as to discourage parking in them. 2010 ADAS §
26

27    502.3.3. CBC section 11B-502.3.3 states that “The area within the blue borderlines
28
      shall be marked with hatched liens a maximum of 36 inches on center. . .” 2010
                                                   31
      ____________________________________________________________________________________________
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 1    CBC § 1129B.3. “Car parking spaces shall be 108 inches (2743 mm) wide
 2
      minimum and van parking spaces shall be 144 inches (3658 mm) wide minimum. .
 3

 4    .” 2019 CBC § 11B-502.2. Plaintiff’s CASp confirmed that the hatch lines were
 5
      improperly spaced and that the access aisle was not wide enough because carpeting
 6

 7
      from the outdoor dining area protruded into the access aisle. UFs 17, 19; Evid. p.

 8    25, 37, 86-90, 245-248. These issues act as barriers to Plaintiff’s enjoyment of the
 9
      Property. Plaintiff requires a clearly marked access aisle, that is free from
10

11    obstructions, next to the designated disabled parking space to unload his mobility
12
      devices. UFs 14-15; Evid. p. 8.
13

14
            It should cost only $150 and take about two hours to remediate both

15    obstacles. UFs 18, 20; Evid. P. 222. Remediation will not impact any business
16
      activities. UF 57, Evid. p. 30. Thus, remediation of these barriers is readily
17

18    achievable.
19
            Accordingly, Plaintiff respectfully requests that the Court grant him
20

21
      summary judgment with respect to the various violations in the parking lot.

22
         Defendant’s Position:
23
            Shayler complains the hatch lines were improperly spaced and that the
24
      access aisle was not wide enough because there was carpet in the access aisle for
25
      the outdoor dining. These claims are the essence of the Supreme Court’s reasoning
26
      that standing requires concrete harm: “‘Article III grants federal courts the power
27
      to redress harms that defendants cause plaintiffs, not a freewheeling power to hold
28
      defendants accountable for legal infractions.’ [Citation.]” TransUnion LLC, 141
                                                   32
      ____________________________________________________________________________________________
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 1
      S. Ct. at 2205. That the hash lines are not wide enough cannot possibly cause harm
 2
      to Shayler and did not. 1 He only complained about the alleged cross slope. And,
 3
      Shayler uses a cane. He does not deploy a wheelchair in the access aisle. He does
 4
      not actually exit his vehicle into the access aisle. There is no standing to sue for
 5
      these claimed violations, even if Shayler convinces the jury he is disabled.
 6

 7        4) Lack of Accessible Business Interior
 8
          Plaintiff’s Position:
 9

10           There are several additional access barriers inside the business.
11
             The front entrance threshold is greater than 1/2 inch high. Thresholds, if
12

13
      provided at doorways, shall be 1/2 inch (13 mm) high maximum. 2010 ADAS §

14    404.2.5. Here, the front entrance threshold measures one inch (1”). UF 35; Evid. p.
15
      27, 38, 121-22, 263. It will cost approximately $200 and one hour to provide a
16

17    compliant threshold at the front entrance. UF 36; Evid. p. 27, 222.
18
             The opening force for doors shall not exceed five pounds. 2019 CBC § 11B-
19

20
      404.2.9. Here, the opening force for the front entrance door exceeds the maximum

21    opening force of five pounds, instead measuring at least twelve pounds. UF 27;
22
      Evid. p. 27, 38, 123. The estimated cost of adjusting the door opening pressure is
23

24    $25 and should take fifteen minutes to complete. UF 38, Evid. p. 27, 222.
25

26
      1
        The hash lines are governed by state regulation. Plaintiff has not proved
27
      invidious discrimination for such violation which is required. See Greater L.A.
28    Agency on Deafness, Inc. v. CNN, Inc., 742 F.3d 414, 425 (9th Cir. 2014),
      discussed below.
                                                   33
      ____________________________________________________________________________________________
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 1          “Directional signs indicating the location of the nearest toilet room or
 2
      bathing room… shall include the International Symbol of Accessibility.” 2010
 3

 4    ADAS § 216.8. Here, the business lacks the required directional signs indicating
 5
      the location of an accessible restroom. UF 39; Evid. p. 27, 38, 132-134, 264. It
 6

 7
      would only cost an estimated $30 to replace the existing signs with accessible

 8    restroom signs and should take fifteen minutes to complete. UF 40; Evid. p. 222.
 9
            There are also numerous violations inside the men’s restroom. The door lock
10

11    to the restroom requires tight grasping, pinching, or twisting of the wrist to operate.
12
      UF 43; Evid. p. 28, 38, 173-75. The maneuvering clearance on the pull side of the
13

14
      men’s restroom door is only ten inches (10”). UF 45; Evid. p. 28, 38, 178-79, 267.

15    The compartment door in the men’s restroom is not self-closing. UF 47; Evid. p.
16
      29, 39, 190-91. The door handle to the toilet compartment door is too small on the
17

18    exterior and missing entirely on the interior. UF 49; Evid. p. 29, 39, 192-94, 269-
19
      72. The flush handle is located on the wrong side of the toilet. UF 51; Evid. p. 29,
20

21
      39, 120-21; 274. The toilet paper dispenser is in a non-compliant location. The side

22    opening compartment door does not have a clear, unobstructed opening of thirty-
23
      four inches (34”) wide. UF 53; Evid. p. 30, 38, 199-200, 276. It will only cost
24

25    around $1,000 and take a few hours of work to address all of the accessibility
26
      barriers in the men’s restroom. UFs 44, 46, 48, 50, 52, 54, 56; Evid. p. 222-23.
27

28

                                                   34
      ____________________________________________________________________________________________
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 1          Remediation of these interior accessibility barriers would not impact
 2
      operation of the business. UF. 57; Evid. p. 30. The value of the Property exceeds
 3

 4    six million dollars, and Defendants can without question cover the minor expenses
 5
      required to fix these interior violations. UF 63; Evid. p. 34, 226.
 6

 7
            Plaintiff has identified several obvious access barriers and established that

 8    remediation of the identified barriers is not costly, time-consuming, or damaging to
 9
      the operation of the business. See Section III.D.1-4. Furthermore, none of the
10

11    remediations would impact the economic activity of the business after they have
12
      been corrected. UF 58, Evid. p. 30. Plaintiff submits that the minimal costs, time
13

14
      involved to complete remediation, and lack of impact on business operation

15    provide a plausible explanation for why barrier removal would be readily
16
      achievable. Thus, Plaintiff respectfully requests that the Court grant summary
17

18    judgment with respect to the various violations at the Property.
19
          Defendant’s Position:
20
            For the reasons stated above, Shayler does not have standing to sue for the
21
      door threshold. It is a change of level that applies to wheelchair users. In addition,
22
      the video and photographic evidence demonstrate Shayler is very capable of
23
      stepping up stairs or steps. Undisputed Facts, D66, D70. 2
24

25    2
        Shayler’s expert claims the floor mats at the front door entrance violate the 2010
26    Standards For Accessible Design § 302.2. UF 33. Section 302.2 does not apply to
      floor mats. Section 302.2 provides: “Carpet or carpet tile shall be securely
27
      attached and shall have a firm cushion, pad, or backing or no cushion or pad. … .”
28    The floor mat is not a carpet covered by the ADA. See Crandall v. Starbucks
      Corp., 249 F. Supp. 3d 1087, 1117 (N.D. Cal. 2017); Wilson v. Norbreck, LLC,
                                                   35
      ____________________________________________________________________________________________
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 1
            The 2010 Standards For Accessible Design § 404.2.9 only includes
 2
      regulation of the 5 pounds of force for interior doors, not entry doors: “The force
 3
      for pushing or pulling open a door or gate other than fire doors shall be as follows:
 4
      [¶] 1. Interior hinged doors and gates: 5 pounds (22.2 N) maximum. [¶] 2. Sliding
 5
      or folding doors: 5 pounds (22.2 N) maximum.” The state regulation extends the 5
 6
      pounds of pressure to exterior doors.
 7
            Plaintiff has not proved liability under the state regulation as invidious
 8
      discrimination toward him must be shown. See e.g., Greater L.A. Agency on
 9
      Deafness, Inc. v. CNN, Inc., 742 F.3d 414, 425 (9th Cir. 2014) [“to establish a
10
      violation of the Unruh Act independent of a claim under the Americans with
11
      Disabilities Act (‘ADA’), GLAD must ‘plead and prove intentional discrimination
12
      in public accommodations in violation of the terms of the Act.’ [Citation.] The
13
      California Supreme Court has clarified that the Unruh Act contemplates ‘willful,
14
      affirmative misconduct on the part of those who violate the Act’ and that a plaintiff
15
      must therefore allege, and show, more than the disparate impact of a facially
16
      neutral policy. [Citations.]”]
17          As to all of the claims involving the restroom, Shayler has no standing to
18    sue. All of the issues involve regulations applicable to wheelchair users. See e.g.
19    O'Campo v. Chico Mall, LP, 758 F. Supp. 2d 976, 982-83 (E.D. Cal. 2010) [listing
20    substantially all items listed by Shayler as wheelchair issues]. In O'Campo v. Bed
21    Bath & Beyond of Cal., LLC, 610 F. App'x 706, 708 (9th Cir. 2015), which arose
22    from the same action as O’Campo v. Chico Mall, the 9th Circuit affirmed dismissal
23    of the action against the cane users who was suing for wheelchair violations:
24          “The district court properly concluded that the barriers O'Campo
25          alleged would not interfere with the full and equal access of a
26
      2005 U.S. Dist. LEXIS 33214, 2005 WL 2439714, at *4-5 (E.D. Cal. Dec. 14,
27
      2005); White v. Divine Invs., Inc., 2005 U.S. Dist. LEXIS 23018, 2005 WL
28    2491543, at *6 (E.D. Cal. Oct. 7, 2005). The floor mat does not violate the
      regulations as a matter of law.
                                                   36
      ____________________________________________________________________________________________
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 1
            mobility-impaired person who requires the use of a cane, rather
 2
            than a wheelchair. Using as an example the fourth alleged barrier,
 3
            incomplete insulation of the pipes under the lavatory, this condition
 4
            would not impact a person who was standing up, because the legs of a
 5
            standing person would not be underneath the lavatory while that
 6
            person washed his hands. Even though the Court is to draw reasonable
 7
            inferences in favor of O'Campo, the Court cannot reasonably infer that
 8
            incomplete insulation covering the pipes beneath the lavatory would
 9
            interfere with O'Campo's full and equal access to BBB's facilities
10
            when his alleged impairment required that he use a cane. This same
11
            analysis applies to all five alleged barriers.[ 3] The Court may not
12
            imagine additional facts about O'Campo's disability that O'Campo did
13
            not allege. Accordingly, the district court properly concluded that
14
            O'Campo failed to sufficiently allege standing for his ADA claim.
15
            Thus, the district court properly dismissed the case.”
16
            Even if Shayler actually visited Fusion Sushi and even if he intends to
17    return, he has no standing to sue for anything inside the restaurant.
18

19

20    3
        The other alleged barriers were as follows: “Four of the five barriers alleged in
21    this case were used in the other case as examples of barriers that ‘appear[ed] to
      solely concern accessibility for individuals using wheelchairs.’ [Citation.]
22
      [Emphasis added.] These specifically included strike side clearance when entering
23    and exiting the restroom, and location of the toilet paper dispenser. Compare id.
24
      with Compl. ¶ 33. As noted at the February 24 hearing, all of the alleged barriers
      plaintiff lists in the instant complaint - insufficient strike side clearance when
25    entering and exiting the men's restroom, the front roll of toilet tissue being more
26    than 12 inches from the front of the water closet, the operable part of the paper
      towel dispenser being mounted too high, and the pipes beneath the lavatory being
27
      incompletely wrapped - appear to pose a problem only for someone using a
28    wheelchair.” O'Campo v. Chico Crossroads, LP, 2012 U.S. Dist. LEXIS 74812, at
      *4-6 n.2 (E.D. Cal. May 30, 2012).
                                                   37
      ____________________________________________________________________________________________
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 1       E. PLAINTIFF ENCOUNTERED VIOLATIONS AND IS DETERRED
 2
            FROM RETURNING
 3

 4       Plaintiff’s Position:
 5
            During his three visits to the property, Plaintiff encountered the barriers
 6

 7
      identified in Section III. D See UFs 11-15; Evid. p. 8-9. These barriers caused him

 8    difficulty, humiliation, and/or frustration. UF 11; Evid. p. 8-9. He hopes to return
 9
      and intends/plans to as soon as the barriers are removed, as the Property is located
10

11    close to his friend’s house and he enjoys having sushi with his friends at the
12
      business. UF 62; Evid. p. 12 .
13

14
            Plaintiff also has constitutional standing to pursue injunctive relief for all

15    accessibility barriers on the Property related to his disability. Generally, a plaintiff
16
      must meet three requirements in order to establish standing under Article III of the
17

18    United States Constitution: (1) the plaintiff must have “suffered an injury in fact –
19
      an invasion of a legally protected interest which is (a) concrete and particularized,
20

21
      and (b) actual or imminent, not conjectural or hypothetical”; (2) there must be a

22    “causal connection between the injury and the conduct complained of”; and (3) it
23
      must be “likely, as opposed to merely speculative, that the injury will be redressed
24

25    by a favorable decision.” Lujan v. Defenders of Wildlife, 504 U.S. 555, 560-561
26
      (1992).
27

28

                                                   38
      ____________________________________________________________________________________________
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 1          The Ninth Circuit has instructed that courts should take a “broad view” of
 2
      constitutional standing in the context of ADA lawsuits. Doran v. 7-Eleven, Inc.,
 3

 4    524 F.3d 1034, 1039-40 (9th Cir. 2008). Specifically, the Ninth Circuit has
 5
      recognized a deterrent effect doctrine for purposes of the injury requirement,
 6

 7
      holding that “a disabled individual who is currently deterred from patronizing a

 8    public accommodation due to a defendant’s failure to comply with the ADA has
 9
      suffered ‘actual injury.’” Doran, 524 F.3d at 1040. In other words, a Plaintiff has
10

11    constitutional standing if he “is threatened with harm in the future because of
12
      existing or immediately threatened non-compliance with the ADA.” Id.
13

14
            The Ninth Circuit further clarified that a plaintiff need not personally

15    encounter a barrier to suffer an injury for standing purposes. Instead, “[i]t is the
16
      plaintiff’s ‘actual knowledge’ of a barrier, rather than the source of that
17

18    knowledge, that is determinative.” Civil Rights Educ. & Enforcement Ctr. v. Hosp.
19
      Properties Trust, 867 F.3d 1093, 1099 (9th Cir. 2017). Indeed, “[o]nce a disabled
20

21
      individual has encountered or become aware of alleged ADA violations that deter

22    his patronage of[,] or otherwise interfere with his access to[,] a place of public
23
      accommodation, he has already suffered an injury in fact traceable to the
24

25    defendant’s conduct and capable of being redressed by the courts.” Doran, 524
26
      F.3d at 1042, n.5.
27

28

                                                   39
      ____________________________________________________________________________________________
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 1          Plaintiff’s CASp inspector visited the Property and reported a multitude of
 2
      barriers. UFs 16-56; Evid. p. 24-32, 81-221. These barriers were also subsequently
 3

 4    confirmed by Plaintiff’s investigator Marc Friedlander. See UFs 19, 21, 23, 25, 27,
 5
      35, 37, 39, 43, 45, 47, 49, 51; Evid. p. 38-41. Plaintiff is aware of the barriers that
 6

 7
      continue to exist on the Property and is deterred from returning until these

 8    obstacles have been remediated. UFs 59-62, Evid. p. 11-12.
 9

10       Defendant’s Position:

11
            The claim of deterrence necessarily requires an intent to return to Fusion

12
      Sushi. Shayler’s intent is a matter of credibility that cannot be resolved by

13
      summary judgment, particularly in light of the evidence presented that shows

14
      Shayler is a liar and perjurer. He had not even presented evidence other than his

15
      discredited word that he was ever at the Fusion Sushi. He even perjured himself

16
      about going into Fusion Sushi with a friend. Finally, Shayler admits to filing 200

17
      lawsuits. Undisputed Fact, D103 [Exhibit 33, 125:16-25]. The number of cases is

18
      relevant to the question whether he will return and should be considered as one
      more factor at trial. Langer v. H&R Ltd. Liab. Co., 2018 U.S. Dist. LEXIS 225938
19
      (C.D. Cal. Aug. 13, 2018); Whitaker v. PQ Americana, Inc., 2020 U.S. Dist.
20
      LEXIS 71958 (C.D. Cal. Mar. 20, 2020); Norkunas v. Wynn Las Vegas, LLC, 343
21
      F. App'x 269, 270 (9th Cir. 2009).
22

23
         IV.    THE LACK OF ACCESIBLE ROUTES OF TRAVEL, PARKING,
24

25              SIGNAGE, AND BUSINESS INTERIOR IS A VIOLATION OF
26              THE UCRA
27
         Plaintiff’s Position:
28

                                                   40
      ____________________________________________________________________________________________
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 1            The UCRA provides that “a violation of the right of any individual under
 2
      the Americans with Disabilities Act of 1990 shall also constitute a violation of this
 3

 4    section.” Cal. Civil Code § 51(f). “A violation of the ADA is, by statutory
 5
      definition, a violation of both the Unruh Act and the DPA.” Cullen v. Netflix, Inc.,
 6

 7
      880 F. Supp. 2d 1017, 1023 (N.D. Cal. 2012). “Because the Unruh Act is

 8    coextensive with the ADA and allows for monetary damages, litigants in federal
 9
      court in California often pair state Unruh Act claims with federal ADA claims.”
10

11    Molski v. M.J. Cable, Inc. 481 F.3d 724, 731. As discussed in Section IV,
12
      Defendant violated the ADA. Thus, there has been a per se violation of the
13

14
      UCRA.

15
         Defendant’s Position:
16
              For the reasons stated above, Shayler does not have standing to sue for any
17
      of the claimed violations of the access regulations or, at the very least, questions of
18
      fact exist respecting whether he has such standing to sue. Unruh requires proof of
19
      a denial of full and equal access to a business arising from construction related
20
      accessibility barriers. Civil Code §§ 52(a) and 55.56 (a), (c). The facts
21
      demonstrating Shayler’s lack of standing to sue for any violation of the ADA
22
      regulations because they simply are not applicable to him or he never encountered
23
      them prove the absence of any discrimination.
24

25       V.      REMEDIES
26
         A. Injunctive Relief
27

28       Plaintiff’s Position:

                                                   41
      ____________________________________________________________________________________________
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 1          Plaintiff seeks injunctive relief pursuant to 42 U.S.C. § 12188(a). The
 2
      injunctive relief “shall include an order to alter facilities to make such facilities
 3

 4    readily accessible to and useable by individuals with disabilities” to the extent
 5
      required by the ADA. 42 U.S.C. § 12188(a)(2).
 6

 7
            As set forth above, Plaintiff may seek recourse for barriers he personally

 8    encountered, as well as for those he is aware of that cause him to be reasonably
 9
      deterred from visiting the public accommodation. See Section III.E, supra. A
10

11    plaintiff seeking injunctive relief must also show “a sufficient likelihood that [the
12
      plaintiff] will again be wronged in a similar way…[t]hat is,…a real and immediate
13

14
      threat of repeated injury.” Fortyune v. American Multi-Cinema, Inc., 364 F.3d

15    1075, 1081 (9th Cir. 2004) (internal quotations omitted).
16
            Here, there is every indication that the Property will remain in, or return to,
17

18    a non-compliant state in the future if an appropriate injunctive order is not issued.
19
      During this case, Defendant has failed to remove the aforementioned/identified
20

21
      barriers, removal of which is readily achievable. See UFs 16-56; Evid. p. 24-32,

22    81-221. Plaintiff will not be able to access the Property without difficulty,
23
      humiliation, and/or frustration if Defendant is not ordered to remediate the
24

25    existing violations. See UF 11, Evid. p. 8. Accordingly, an injunction is
26
      appropriate to ensure that Defendant complies with the law, and that Plaintiff can
27

28
      enjoy full access of the premises.

                                                   42
      ____________________________________________________________________________________________
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 1
         Defendant’s Position:
 2
             For all the foregoing reasons, Shayler has not proven standing to sue for the
 3
      alleged violations as he has not and cannot show he has suffered or will suffer any
 4
      concrete harm. TransUnion, supra. Summary judgment on the claim for
 5
      injunctive relief is proper for defendant, not Shayler. “It is generally recognized
 6
      that a court has the power sua sponte to grant summary judgment to a non-movant
 7
      when there has been a motion but no cross-motion. …” Kassbaum v. Steppenwolf
 8
      Prods., Inc., 236 F.3d 487, 494 (9th Cir. 2000), citing Cool Fuel, Inc. v. Connett,
 9
      685 F.2d 309, 311 (9th Cir. 1982); Golden State Transit Corp. v. City of Los
10
      Angeles, 563 F. Supp. 169, 170-71 (C.D. Cal. 1983); 10A Charles Alan Wright,
11
      Arthur R. Miller & Mary Kay Kane, Federal Practice and Procedure § 2720 at 347
12
      (3d ed. 1998). At the very least, Shayler must be put to the task of proving his
13
      standing to sue at trial.
14

15       B. Damages
16
         Plaintiff’s Position:
17
             Plaintiff also seeks statutory damages totaling $16,000 under the UCRA;
18
      $4,000 for each of three actual visits and one deterred visit. See UFs 11, 61; Evid.
19
      p. 8, 12.
20
             Violations of the UCRA can result in statutory damages “if the violation
21
      denied the plaintiff full and equal access to the place of public accommodation on
22
      a particular occasion.” Cal. Civ. Code § 55.56(a). A denial of full and equal access
23
      occurs where a plaintiff “personally encountered” the violation, resulting in
24
      “difficulty, discomfort or embarrassment.” Cal. Civ. Code § 55.56(b). Plaintiff
25
      may recover minimum statutory damages of $4,000 for “each offense” (Cal. Civ.
26
      Code § 52(a)), meaning “each particular occasion that the plaintiff was denied full
27
      and equal access….” Cal. Civ. Code § 55.56(e). Plaintiff can recover for both
28

                                                   43
      ____________________________________________________________________________________________
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 1
      actual encounters and occasions where personal knowledge of a barrier deterred
 2
      the plaintiff from attempting patronage. Cal. Civ. Code § 55.56(b).
 3
            Plaintiff encountered and/or knows of the existing violations including,
 4
      failure to provide an accessible route, a non-compliant access aisle, inadequate
 5
      signage, and inaccessible business interiors. UFs 11-15, 59-61; Evid. p. 8-12.
 6
      Plaintiff is deterred from visiting until violations are remediated. UFs 61, Evid. p.
 7
      12.
 8
            Defendant’s Position
 9
            Even if we assume there is a violation on the property for which Shayler has
10
      standing to sue, he must prove to the satisfaction of the jury that he suffered some
11
      harm from the alleged violation. Damages are not automatic. The California
12
      Legislature amended the damage law under the Unruh Civil Rights Act on the
13
      passage of Civil Code § 55.56 making clear proof of actual damage or injury is
14
      required:
15
                   “(a) Statutory damages under either subdivision (a) of Section 52
16
            or subdivision (a) of Section 54.3 may be recovered in a construction-
17          related accessibility claim against a place of public accommodation
18          only if a violation or violations of one or more construction-related
19          accessibility standards denied the plaintiff full and equal access to the
20          place of public accommodation on a particular occasion.
21                 “(b) …
22                 “(c) A violation personally encountered by a plaintiff may be
23          sufficient to cause a denial of full and equal access if the plaintiff
24          experienced difficulty, discomfort, or embarrassment because of
25          the violation. [Emphasis added.]”
26          Civil Code § 52, referenced in section 55.56, requires by plain language
27    proof of actual injury. “(a) Whoever denies, aids or incites a denial, or makes any
28    discrimination or distinction contrary to Section 51, 51.5, or 51.6, is liable for
                                                   44
      ____________________________________________________________________________________________
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 1
      each and every offense for the actual damages, and any amount that may be
 2
      determined by a jury, or a court sitting without a jury, up to a maximum of three
 3
      times the amount of actual damage but in no case less than four thousand dollars
 4
      ($4,000), … . [Emphasis added.]”
 5
            In Mundy v. Pro-Thro Enterprises, 192 Cal.App.4th Supp. 1, 5-6 (2011),
 6
      the court ruled proof of at least difficulty, discomfort or embarrassment is required
 7
      for recovery of the statutory minimum damages:
 8
            “Because it [the complaint] was filed after January 1, 2009, the Act claim,
 9
      which is the only one at issue in this appeal, was subject to the requirements of
10
      section 55.56. Accordingly, to prevail on the Act claim, appellant was required to
11
      prove that he was denied full and equal access after personally encountering an
12
      ADA violation.
13
            “In deciding whether appellant met his burden of proof, the trial court was
14
      allowed to consider whether he offered any evidence showing that the violation
15
      caused him difficulty, discomfort, or embarrassment. Since appellant offered no
16
      such evidence, he was not entitled as a matter of law to have the court find that he
17    had been denied full and equal access due to the placement of the restroom mirror.
18    The court therefore did not err in entering judgment for respondent.”
19          In Doran v. 7-Eleven, Inc., 509 F. App'x 647, 648 (9th Cir. 2013), the Ninth
20    Circuit affirmed a judgment for defendant, ruling plaintiff had not met his burden
21    of proof on, among other issues, damages: “Doran offered no evidence that he was
22    deterred from accessing the 7-Eleven, Cal. Civ. Code § 55.56(b), nor did he prove
23    that he personally encountered the violation and ‘experienced difficulty,
24    discomfort, or embarrassment because of the violation.’ Cal. Civ. Code §
25    55.56(c). Indeed, he stipulated that he suffered no physical or emotional harm
26    from encountering the alleged violations. A claimant who offers no such evidence
27    is ‘not entitled as a matter of law’ to recover statutory damages under the CRAS
28    [Construction Related Accessibility Standards Compliance Act].”
                                                   45
      ____________________________________________________________________________________________
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 1
             Similarly, Kohler v. Presidio Int'l, Inc., 2016 U.S. Dist. LEXIS 93519, at *7
 2
      (C.D. Cal. Apr. 19, 2016), the court said: “Moreover, under California Civil Code
 3
      § 55.56, a disabled individual can only receive statutory damages for an
 4
      architectural barrier if he experienced ‘difficulty, discomfort, or embarrassment’
 5
      while personally encountering the barrier. [Citations.]” See also Whitaker v. BOP
 6
      FIGAT7TH LLC, 2019 U.S.Dist.LEXIS 37086, at *9 (C.D. Cal. Mar. 6, 2019)
 7
      [“Statutory damages are not automatic upon a violation of the Unruh Act.”.}
 8
             The mere existence of an alleged violation does not give rise to damages. 4
 9
      Shayler must prove he suffered harm. That proof depends on his credibility in
10
      front of the jury, along with the lack of any evidence, apart from his word, that he
11
      was ever at the property. Summary judgment on damages is improper.
12

13        VI.   CONCLUSION
14
          Plaintiff’s Position:
15

16           For all the foregoing reasons, Plaintiff respectfully requests that this Court
17
      grant his motion, issue injunctive relief, and award judgment in favor of Plaintiff
18
      and against Defendant in the amount of $16,000.
19

20

21
      4
        The courts have rejected similar glutinous demands for $4000 for each visit. See
      Johnson v. Garlic Farm Truck Ctr. Llc, 2021 U.S. Dist. LEXIS 113031, at *20-21
22
      (N.D. Cal. June 16, 2021), reducing the $12000 to claim to $4000 based on:
23    “Pickern v. Nord Mkt., No. 2:17-CV- 1130-JAM-CMK, 2017 WL 6622749, at *4
24
      (E.D. Cal. Dec. 28, 2017) (reducing plaintiff's statutory damages from $16,000 to
      $8,000 under the Unruh Act because the court could ‘assume [the plaintiff's]
25    frequent visits were only intended to increase the amount of damages she could
26    receive in such a case’), Johnson v. Monterey & Rancho Plaza, No. 18-CV-05718-
      BLF, 2020 WL 5893319 (N.D. Cal. Oct. 5, 2020) (reducing plaintiff's statutory
27
      damages from $16,000 to $4,000 under the Unruh Act because the court could
28    ‘only assume the multiple visits were intended to increase the amount of statutory
      damages’).”
                                                   46
      ____________________________________________________________________________________________
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 1
         Defendant’s Position:
 2
              Plaintiff’s request for summary judgment should be denied. Defendant
 3
      contends this Court has the power to grant it summary judgment on the federal
 4
      cause of action because plaintiff will not be able to prove standing to sue for the
 5
      alleged violations.
 6

 7    Dated: November 9, 2021                               THE LAW OFFICE OF HAKIMI & SHAHRIARI
 8

 9
                                                   By:       /s/ Anoush Hakimi
10                                                          ANOUSH HAKIMI, ESQ.
11
                                                            Attorney for Plaintiff James Shayler

12     Date: November ___,
                       8 2021                                  ________________________________
13                                                             James S. Link
                                                               Attorney for Defendant HB Mat
14
                                                               Properties, LLC
15

16    SIGNATURE ATTESTATION

17    I, Anoush Hakimi, attest that all other signatories listed, and on whose behalf the filing is submitted, concur in
      the filing’s content and have authorized the filing.
18

19                                                                    /s/ Anoush Hakimi
                                                                      Anoush Hakimi
20

21

22

23

24

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26

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28

                                                   47
      ____________________________________________________________________________________________
                     JOINT BRIEF RE: PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT
